        CASE 0:21-cv-02128-SRN-KMM Doc. 1 Filed 09/27/21 Page 1 of 10




                          UNITED STATES DISTRICT COURT
                             DISTRICT OF MINNESOTA




P PARK MANAGEMENT, LLC,
                             Plaintiff,                       Court File No. 21-CV-02128
                 v.
                                                                 COMPLAINT
PAISLEY PARK FACILITY, LLC and
COMERICA BANK AND TRUST, N.A.,                                [DEMAND FOR JURY TRIAL]
as Personal Representative of the Estate
of Prince Rogers Nelson,

                              Defendants.



       Plaintiff P Park Management, LLC (“P Park”), by its undersigned attorneys, for

their claims against Paisley Park Facility, LLC (“PP Facility”) and Comerica Bank and

Trust (“Comerica”), N.A., as personal representative of the Estate of Prince Rogers

Nelson (the “Estate”), allege as follows:

       1.     Plaintiff P Park is a limited liability company formed on August 22, 2016

under the laws of the state of Delaware. P Park’s sole member is Draw a Circle, LLC, a

Delaware limited liability company. Draw a Circle, LLC’s sole member is Joel

Weinshanker. Joel Weinshanker is a resident of the state of Nevada. Thus, for the

purposes of diversity jurisdiction, Plaintiff P Park is a resident of the state of Nevada.

       2.     Defendant Comerica is the court-appointed Personal Representative of the

Estate. Comerica is a national banking association with its headquarters in Ann Arbor,

Michigan. Prince was domiciled in Minnesota and the Estate administration is in
        CASE 0:21-cv-02128-SRN-KMM Doc. 1 Filed 09/27/21 Page 2 of 10




Minnesota. Pursuant to 28 U.S.C. § 1332(c)(2), Comerica is a citizen of Minnesota for

the purposes of diversity jurisdiction.

       3.     Defendant PP Facility is a limited liability company formed on under the

laws of the state of Delaware and with a registered office address of 1010 Dale Str. N.,

St. Paul, MN 55117-5603 and a principal place of business address of 3551 Hamlin Rd.,

Auburn Hills, MI 48326. Upon information and belief, Defendant Comerica is the sole

member of PP Facility. PP Facility is therefore a resident of the state of Minnesota.

       4.     The Court has personal jurisdiction over Defendant Comerica because it

has transacted business within Minnesota and committed acts in Minnesota causing

injury in Minnesota and because Comerica has further consented to jurisdiction pursuant

to Minn. Stat. § 524.3-602.

       5.     The Court has personal jurisdiction over Defendant PP Facility because it

has transacted business within Minnesota and committed acts in Minnesota causing

injury in Minnesota.

       6.     Diversity jurisdiction is proper under 28 U.S.C. § 1332 because the matter

in controversy exceeds the sum of $75,000 and is between citizens of different states.

       7.     Venue is proper in this District under 28 U.S.C. § 1391 (b)(1) and (b)(2)

because both Defendants reside in this district and because a substantial part of the events

or omissions giving rise to the claim occurred in this District.

       8.     From August 2016 to September 2019, P Park served as the operator of

Paisley Park, a museum located in Chanhassen, Minnesota, as well as related exhibitions

(the “Venue”).


                                             -2-
        CASE 0:21-cv-02128-SRN-KMM Doc. 1 Filed 09/27/21 Page 3 of 10




       9.     P Park performed its duties pursuant to an Exhibition Operating Agreement

(the “Venue Agreement”) executed by Defendant PP Facility, an entity formed and

controlled by the Estate of Prince Rogers Nelson.

       10.    The Venue Agreement was initially administered on behalf of PP Facility

and the Estate by the Estate’s then representative, Bremer Trust. In 2017, the Bremer

Trust was replaced as personal representative by Comerica.

       11.    Getting the Venue ready to open took considerable efforts and resources on

the part of P Park, in coordination with Bremer and local authorities, including numerous

meetings with the Chanhassen mayor, city council, and zoning authorities. The

Venue opened on October 26, 2016.

       12.    From August 2016 to September 2019, P Park cooperated with first Bremer

and then Comerica, in a consistent effort to maximize the opportunity at Paisley Park and

realize the greatest revenue potential for the PP Facility and the Estate.

       13.    However, beginning in 2017, Comerica took actions to sabotage P Park’s

performance of the Agreement, with the goal of driving P Park out of its position as the

Venue’s operator.

       14.    In May 2019, Comerica sent P Park a notice of intent to terminate the

Venue Agreement. P Park disputed the validity of the termination and that dispute was

referred to mediation.

       15.    Following the mediation, P Park and Comerica (acting on behalf of PP

Facility and the Estate) reached a settlement that was memorialized in a written term

sheet (the “Term Sheet”). The Term Sheet provided, among other things, that P Park


                                             -3-
        CASE 0:21-cv-02128-SRN-KMM Doc. 1 Filed 09/27/21 Page 4 of 10




would continue to operate the Venue until October 1, 2019, at which point PP Facility

would assume its operation.

       16.    The Term Sheet also provided that the parties would enter into a formal and

final settlement agreement consistent with the Term Sheet.

       17.    On or about November 22, 2019, Madison Dube (“Dube”) filed a lawsuit in

the U.S. District Court for the District of Minnesota, asserting claims against PP Facility,

Comerica and P Park, among other parties (the “Dube Litigation”).

       18.    Dube’s claims related to the use of certain photographs in connection with

P Park’s operation of the Venue. P Park had sought and obtained authorization from the

Estate and PP Facility before it made use of the photos in connection with the Agreement.

P Park would not have used the photos absent Defendants’ assurance they owned or

controlled the rights for their use and duplication.

       19.    P Park only made use of photos authorized by the Defendants. P Park made

use of the photos in furtherance of its responsibilities under the Venue Agreement and for

the purpose of conferring benefits on the Defendants.

       20.    On December 10, 2019, P Park’s outside counsel contacted Comerica’s

counsel to express the position that that because the Dube photographs had been

approved by the Estate for publication by P Park (principally through Bremer Trust, the

prior agent for the Estate), PP Facility and the Estate had a duty to indemnify and defend

P Park on the Dube claim. Comerica’s counsel responded that PP Facility and Comerica

would stand by approvals that had been provided by Bremer as agent for the Estate (“we

will stand in their shoes”).


                                             -4-
        CASE 0:21-cv-02128-SRN-KMM Doc. 1 Filed 09/27/21 Page 5 of 10




       21.    On December 12, 2019, P Park’s counsel emailed Comerica’s counsel the

evidence of the Estate’s approval of the use of Dube photographs. In a follow-up phone

call, Comerica’s counsel stated that the Defendants would agree to defend P Park in the

Dube Litigation, conditioned on PP Facility and P Park signing their final settlement

Agreement.

       22.     With respect to an ultimate indemnity obligation for damages payable to

plaintiff Dube, assuming any existed, Comerica’s counsel proposed that the parties wait

for the resolution of the case, expressing her belief that the case would likely resolve in

the Estate’s favor or be settled on terms that might render the issue moot.

       23.    It was in Comerica and PP Facility’s interest to agree to defend P Park,

because of the benefits of maintaining alignment in defending the Dube Litigation.

Comerica and PP Facility also knew that P Park had maintained many of the documents

likely to be sought in discovery and thus would benefit from P Park’s cooperation to

make the Dube Litigation go smoothly for their side.

       24.    Comerica’s counsel acknowledged the Estate’s undertaking to defend P

Park in writing on multiple occasions. In an email dated January 10, 2020, she referred to

“Comerica’s agreement to provide a defense to P Park in the Dube matter . . . conditioned

on a final settlement agreement having been executed.” This acknowledgement also was

contained in a second email dated January 27, 2020.

       25.    However, that January 27, 2020 email also referred to another dispute that

had subsequently arisen between the parties over ticket revenues. For the first time, the




                                             -5-
           CASE 0:21-cv-02128-SRN-KMM Doc. 1 Filed 09/27/21 Page 6 of 10




January 27 email seemed to link the revenue-sharing dispute to the Dube indemnity, even

though the two issues were entirely distinct.

       26.     Because the Defendants used the pending revenue sharing dispute as an

excuse to delay their obligation to defend P Park in the Dube Litigation, P Park was

forced to retain outside counsel to answer the Dube complaint and otherwise represent P

Park in the Dube Litigation without receiving the promised reimbursement from the

Defendants.

       27.     The ticket revenue dispute was resolved in P Park’s favor. However, the

Defendants, displeased by the result, proceeded to renege on their prior commitment to

defend P Park in the Dube action.

       28.     Specifically, after that resolution of the ticket revenue dispute, the

Defendants pressed P Park to execute the final settlement agreement called for in the

Term Sheet. However, when P Park edited the draft final settlement agreement to reflect

the Defendants’ agreement to defend P Park in the Dube matter, they refused to agree to

the edits, thereby reneging on their promise to defend P Park.

       29.     No explanation was given for this sudden 180-degree change in position.

However, the timing and context makes it clear the change in position was retaliation

against P Park for refusing to agree with the Defendants in the unrelated ticket revenue

dispute.

       30.     Notwithstanding the Defendants’ repudiation of their obligation to defend P

Park in the Dube Litigation, P Park continued to negotiate the terms of a settlement

agreement and the settlement was signed by both sides in May 2020. The settlement


                                              -6-
           CASE 0:21-cv-02128-SRN-KMM Doc. 1 Filed 09/27/21 Page 7 of 10




agreement left open the question of Defendants’ obligation of defend P Park in the Dube

litigation.

          31.   However, even after the settlement was signed, the Defendants still did not

honor their obligation to defend P Park in the Dube Litigation.

          32.   Even though P Park had ceased operating the Venue and was not the true

party in interest in the Dube case, it still retained physical custody and access to

documentation sought by Dube in the litigation. Accordingly, P Park absorbed an

extremely disproportionate share of the costs of document production in the Dube case, to

the benefit of the Defendants, the responsible parties and the true parties in interest.

                               FIRST CAUSE OF ACTION
                                  (Breach of Contract)

          33.   P Park repeats and realleges the allegations above as if fully set forth

herein.

          34.   Comerica and PP Facility formed a contract with P Park to provide a

defense to P Park in Dube v. NPG Music Publishing, LLC, Case No. 19-cv-2968 (D.

Minn. filed November 22, 2019).

          35.   To the extent the Defendants conditioned their performance on P Park’s

execution of a final settlement agreement of an earlier dispute, they improperly acted to

render performance of that condition impossible without frustrating the purpose of the

contract, by refusing to acknowledge their promise to defend P Park.




                                               -7-
           CASE 0:21-cv-02128-SRN-KMM Doc. 1 Filed 09/27/21 Page 8 of 10




          36.   Their refusal of the Defendants to include their obligation to defend P Park

in the proposed final settlement agreement constituted a repudiation of the agreement to

provide a defense to P Park in the Dube Litigation.

          37.   Notwithstanding Defendants’ efforts to hinder and frustrate P Park’s

execution of the final settlement agreement, the agreement was finalized and signed by

both parties. The final settlement agreement left open the question of Defendants’

obligation of defend P Park in the Dube litigation.

          38.   P Park also performed on the contract by cooperating with the Defendants

in the Dube Litigation, including carrying much of the burden of producing documents.

          39.   Defendants breached the contract by refusing to provide P Park the

promised defense to the Dube litigation.

          40.   As a result, P Park incurred attorneys’ fees and costs in excess of $75,000.

          41.   As a result of Defendants’ failure to defend P Park, P Park has been sued

for nonpayment of fees by its counsel in the Dube Litigation, and is now incurring

additional attorneys’ fees and costs defending that litigation.

                              SECOND CAUSE OF ACTION
                                    (Indemnity)

          42.   P Park repeats and realleges the allegations above as if fully set forth

herein.

          43.   P Park was named as a defendant in Dube v. NPG Music Publishing, LLC,

Case No. 19-cv-2968 (D. Minn. filed November 22, 2019), based solely on action taken

at the direction, in the interest of, and in reliance upon Defendants.



                                               -8-
        CASE 0:21-cv-02128-SRN-KMM Doc. 1 Filed 09/27/21 Page 9 of 10




       44.    In addition, as the putative owners of intellectual property licensed by P

Park for the purpose of performing its duties under the Venue Agreement, the Defendants

had a duty to correctly identify that intellectual property to their licensee. When P Park

asked Defendants whether they had the rights to the photographs taken by Dube, the

Defendants breached that duty by failing to apprise P Park of Dube’s competing claims. P

Park justifiably relied upon Defendants’ representations. Defendants’ conduct, breach of

duty, and/or misrepresentation are the sole cause of the fees and costs incurred by P Park

in the Dube Litigation.

       45.    P Park was obliged in the Dube Litigation to defend against the acts of the

Defendants and defended solely and exclusively the acts of the Defendants in the Dube

Litigation, with no misfeasance of its own.

       46.    Upon receiving notice that it had been sued in the Dube Litigation from the

Defendants, P Park promptly called upon the Defendants to defend P Park in the lawsuit.

       47.    Although the Defendants initially promised to abide by their legal

responsibility to defend P Park in the Dube Litigation, they repudiated that obligation in

retaliation for P Park’s successful invocation of its legal rights in an unrelated dispute.

       48.    As a result, P Park incurred attorneys’ fees and costs in excess of $75,000.

       49.    As a result of Defendants’ failure to defend P Park, P Park has been sued

for nonpayment of fees by its counsel in the Dube Litigation, and is now incurring

additional fees defending that action.




                                              -9-
       CASE 0:21-cv-02128-SRN-KMM Doc. 1 Filed 09/27/21 Page 10 of 10




                                 PRAYER FOR RELIEF

WHEREFORE, P Park prays that the Court:

       a)     Enter judgment for Plaintiff against Defendants, jointly and severally, on

Plaintiff’s breach of contract claim, in an amount to be determined at trial, plus interest,

       b)     Enter judgment for Plaintiff against the Defendants, jointly and severally,

on Plaintiff’s indemnity claim in an amount to be determined at trial, plus interest,

       c)     Award reasonable attorney’s fees and costs, and

       d)     Such other relief as may be deemed appropriate and proper.

DATED: September 27, 2021                  GERAGHTY, O'LOUGHLIN & KENNEY,
                                               A Professional Association

                                           By     s/ Corinne G. Ivanca
                                                  Corinne G. Ivanca (#386774)
                                           1100 Alliance Bank Center
                                           55 East Fifth Street
                                           Saint Paul, MN 55101-1812
                                           Phone: (651) 291-1177
                                           FAX: (651) 291-9477
                                           civanca@goklawfirm.com

                                           PRESS KORAL LLP

                                           Jason M. Koral (pro hac vice application
                                           pending)
                                           641 Lexington Ave, Thirteenth Floor
                                           New York, NY 10022
                                           Phone: (212) 520-8270
                                           jkoral@presskoral.com

                                           ATTORNEYS FOR DEFENDANTS




                                             -10-
